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 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)                                                                            CLEAR FORM
 OR OF PARTY APPEARING IN PRO PER

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 ATTORNEY(S) FOR:    Plaintiffs Ross Cornell and Bryan Estrada
                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
                                                                               CASE NUMBER:
Ross Cornell, an individual, and Bryan Estrada, an
individual,                                                                                    5:22-cv-00789 JWH (SHKx)
                                                              Plaintiff(s),
                                     v.

Office of the District Attorney, County of                                                    CERTIFICATION AND NOTICE
Riverside, and Does 1-100, inclusive,                                                           OF INTERESTED PARTIES
                                                             Defendant(s)                           (Local Rule 7.1-1)

TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                           Ross Cornell and Bryan Estrada
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                               PARTY                                                      CONNECTION / INTEREST
Ross Cornell                                                                  Plaintiff

Bryan Estrada                                                                 Plaintiff

Office of the District Attorney, County of Riverside                          Defendant




         May 26, 2022                                      s/ Gaurav K. Reddy
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           Plaintiffs Ross Cornell and Bryan Estrada



CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
